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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


  UNITED STATES OF AMERICA
                                                              No. 3:21-cr-108 (SRU)
            v.

  MARQUIS JEROME POLLARD

                              ORDER ON MOTION TO DISMISS

       In the instant case, Marquis Jerome Pollard (“Pollard”) is charged with one count of

being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a).

Indictment, Doc. No. 27. Pollard has moved to dismiss the count against him on insufficiency

grounds. Def. Mot., Doc. No. 97. For the reasons that follow, Pollard’s motion to dismiss is

DENIED.

       I.        STANDARD OF REVIEW

       Federal Rule of Criminal Procedure 7(c) provides that an indictment must be “a

plain, concise, and definite written statement of the essential facts constituting the offense

charged.” An indictment will survive a defendant’s motion to dismiss on insufficiency grounds

where it “charges a crime with sufficient precision to inform the defendant of the charges he

must meet and with enough detail that he may plead double jeopardy in a future prosecution

based on the same set of events.” United States v. Yannotti, 541 F.3d 112, 127 (2d Cir. 2008)

(cleaned up). “Moreover, an indictment need do little more than to track the language of the

statute charged and state the time and place (in approximate terms) of the alleged crime.” Id.

(cleaned up).

       The burden for a defendant seeking to dismiss an indictment is high. See United States v.

Smith, 985 F. Supp. 2d 547, 561 (S.D.N.Y. 2014). That is because “[a]n indictment ... need not
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be perfect, and common sense and reason are more important than technicalities.” United States

v. De Le Pava, 268 F.3d 157, 162 (2d Cir. 2001) (cleaned up).

       II.     DISCUSSION

       Principally, Pollard claims that the indictment does not “adequately allege[] the

dates of [Pollard’s] conduct.” Def. Mot., Doc. No. 97, at 2. The relevant count in the

indictment reads as follows:

       On or about April 19, 2021, in the District of Connecticut, the defendant
       MARQUIS JEROME POLLARD, having been, and knowing that he had been,
       convicted in the Circuit Court of the State of South Carolina of a crime punishable
       by a term of imprisonment exceeding one year, namely, Burglary in the Second
       Degree, in violation of South Carolina Code § 16-11-312, on or about May 21,
       2003, did knowingly possess a firearm in and affecting commerce, that is, a Glock
       17, Model Gen 5, 9mm caliber pistol bearing serial number BSKX589, which had
       been shipped and transported in interstate and foreign commerce. In violation of
       Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

Indictment, Doc. No. 27, at 1. Pollard is correct, in that, the indictment references two dates:

April 19, 2021 and May 21, 2003. But contrary to Pollard’s borderline frivolous argument, the

use of both dates does not render the indictment ambiguous. If anything, the two dates arm

Pollard with more knowledge about the nature of the charge being levied against him; not less.

       To begin, Section 922(g)(1) provides in pertinent part: “It shall be unlawful for any

person … who has been convicted in any court of, a crime punishable by imprisonment for a

term exceeding one year … to … possess in or affecting commerce, any firearm or ammunition.”

18 U.S.C. § 922(g)(1). Relevant to this motion, the government must allege, inter alia, that

Pollard had a prior felony conviction at the time he possessed the firearm.

       Indeed, the government did just that. Specifically, the indictment states the place, nature

and date of Pollard’s former felony conviction; that date being May 21, 2003. And it identifies

the firearm Pollard allegedly possessed and the date which he allegedly possessed it; that date



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being April 19, 2021. Still, Pollard contends that the indictment’s sentence structure is so

ambiguous that he cannot ascertain which date the government alleges he possessed the firearm.

Given that ambiguity, Pollard argues that “the most reasonable reading [of the indictment] is that

[he] possessed the firearm on May 21, 2003.” Def. Mot., Doc. No. 97, at 2.

       It simply strains credulity to believe that Pollard’s reading of the indictment is a plausible

one. Understood Pollard’s way, one would have to read the indictment as follows: “…[O]n or

about May 21, 2003, did knowingly possess a firearm in and affecting commerce.” Transitive

verbs (here, possess) require a noun or pronoun to receive the action. See In re Arnold, 471 B.R.

578, 600 (Bankr. C.D. Cal. 2012). Yet interpreted Pollard’s way, the indictment lacks a subject.

Separately, Pollard’s version ignores the command that an indictment must be read “in its

entirety,” as opposed to the piece-meal fashion Pollard offers. United States v. Hernandez, 980

F.2d 868, 871 (2d Cir. 1992). When read cohesively, “[c]ommon sense and reason” offer only

one plausible reading of the indictment; the May 2003 date refers to the predicate offense, and

the April 2021 date refers to the firearms possession. De Le Pava, 268 F.3d at 162. Thus, I

conclude that Pollard’s argument is wholly without merit, and the indictment provides Pollard

with adequate notice of the nature of the crime charged against him.

       III.    CONCLUSION

For the foregoing reasons, Pollard’s motion to dismiss, doc. no. 97, is DENIED.

       So ordered.

Dated at Bridgeport, Connecticut, this 8th day of July 2022.

                                                               /s/ STEFAN R. UNDERHILL
                                                               Stefan R. Underhill
                                                               United States District Judge




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